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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


CARMEN JOHNSON,                                  Case No. 15-12482

            Plaintiff,                           SENIOR U.S. DISTRICT JUDGE
                                                 ARTHUR J. TARNOW
v.
                                                 U.S. MAGISTRATE JUDGE
OAKLAND UNIVERSITY,                              STEPHANIE DAWKINS DAVIS

            Defendant.

                                      /

                                  JUDGMENT

      All issues having been resolved by the Court’s Order [74] of January 22,

2018, THIS CASE IS CLOSED.

      Dated at Detroit, Michigan, this 22nd day of January 2018.


                               DAVID J. WEAVER
                               CLERK OF THE COURT

                               BY: s/Michael E. Lang
                               Deputy Clerk

Approved:

s/Arthur J. Tarnow
ARTHUR J. TARNOW
SENIOR UNITED STATES DISTRICT JUDGE

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